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                                                                                      FILED
                                                                           John E. Triplett, Acting Clerk

                      UNITED STATES DISTRICT COURT
                                                                            United States District Court

                                                                        By CAsbell at 8:35 am, Dec 31, 2020
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA                 )          CASE NO: 4:18-cr-00001
                                         )
                                         )
            v.                           )
                                         )
                                         )
COLIN P. PURCELL                         )


                                      ORDER

      Upon motion of the Government, IT IS HEREBY ORDERED that Miguel

Kurth be substituted as a restitution payee for original victim John A. Kurth in the

captioned case.

      IT IS FURTHER ORDERED that all restitution payments due to "John A.

Kurth" be made payable to “Miguel Kurth” and mailed to the address currently on

record for this victim.



      IT IS SO ORDERED, this 31st day of December, 2020.




                                HONORABLE LISA GODBEY WOOD, JUDGE
                                UNITED STATE DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
